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Attorneys for Defendant John Fredriksen

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------x
-                                    :            Chapter 15
In re:                               :
                                     :            Case No. 18-11094 (SCC)
PERFORADORA ORO NEGRO, S. DE R.L. :               (Jointly Administered)
DE C.V., et al.,                     :
                                     :
Debtors in a Foreign Proceeding.     :
                                     :
---------------------------------x
-
GONZALO      GIL-WHITE, PERSONALLY   :            Adv. Pro. No. 19-01294
AND IN HIS CAPACITY AS FOREIGN       :
REPRESENTATIVE OF PERFORADORA        :
ORO NEGRO, S. DE R.L. DE C.V. AND    :
INTEGRADORA DE SERVICIOS             :
PETROLEROS ORO NEGRO, S.A.P.I. DE    :
C.V.,                                :
                                     :
                         Plaintiff,  :
                                     :
                   -against-         :
                                     :
ALP ERCIL, et al.,                   :
                                     :
                         Defendants. :
---------------------------------x

       NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

              PLEASE TAKE NOTICE that William J. O’Brien, an attorney with the law firm

of Skadden, Arps, Slate, Meagher & Flom LLP, and a member of the Bar of this Court hereby
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enters his appearance in the above-captioned case (the “Adversary Proceeding”) as counsel for

John Fredriksen, and requests, pursuant to Rules 2002, 9007, and 9010(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and section 1109(b) of title 11 of the United

States Code (the “Bankruptcy Code”), that copies of all notices, documents, papers and pleadings

in the Adversary Proceeding be given and served upon:

               William J. O’Brien
               SKADDEN, ARPS, SLATE,
                 MEAGHER & FLOM LLP
               One Manhattan West
               New York, New York 10001-8602
               Phone:(212) 735-3000
               Fax: (212) 735-2000
               Email: william.obrien@skadden.com

               PLEASE TAKE FURTHER NOTICE that pursuant to Bankruptcy Code

section 1109(b), the foregoing request includes not only the notices and papers referred to in the

Bankruptcy Rules specified above, but also includes, without limitation, any notice, application,

motion, petition, pleading, request, complaint or demand, whether formal or informal, whether

written or oral, and whether transmitted or conveyed by mail, delivery, telephone, telegraph,

telex, facsimile transmission, e-mail or otherwise filed or made with respect to the Adversary

Proceeding.

               PLEASE TAKE FURTHER NOTICE that neither this request for notice and

service nor any later appearance, pleading, claim, or suit is a waiver of any substantive or

procedural right. Nor shall this request be deemed to constitute consent to electronic service of

any pleading or papers for which mailed or personal service is required under the applicable

Bankruptcy Rules or Federal Rules of Civil Procedure.




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Dated: March 6, 2020
       New York, New York              /s/ William J. O’Brien
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                                       Attorneys for Defendant John Fredriksen




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